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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ALASKA (Anchorage)

 

In Re: ) District Civil Court Case
)
) No. 3116-cv-00198-RRB
Edward G. Byford Jr. )
)
) Motion for Additional Time to
Petitioner. )
) Amend Petition
)
vS. )
)
)
Superintendent McCloud )
)
Respondent.

 

On 10/29/2018, the Honorable Ralph R. Beistline, granted
Plaintiff Edward G. Byford Jr. an extension of time to flle an Amended Section 2254 Petition

on or before Decernber 31, 2018. Plaintiff presents the following pleading request.

Page 1 of 2 Motion for Additional Time to Amend Petition

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Due to unexpected obstacles, limited resources and the magnitude of the
proceeding before the court, Plaintiff Edward G. Byford Jr. respectfully requests additional
time to finalize representation and present an Amended Section 2254 Petition for the Court’s
consideration Plaintiff Edward G. Byford Jr. consulted with attomey’s in the State of
Oregon including attorney Thomas Coan of Portland, Oregon. Mr. Coan requires 90 days

to review the files and determine if he can represent Plaintiff and file an Amended Petition.

Plaintiff Edward G. Byford Jr., is indebted to the court for
providing Plaintiff adequate time to obtain accomplished legal representation to judiciously

address the court.

Plaintiff assures the court he is diligent in his efforts to secure representation and
prays this pleading as presented assures the court of Plaintiff’ s indubitable intent to proceed to

culmination of a suitable amended petition.

DATED: December 27, 2018

Presented by:

¢‘Z/////

Edward G. 135/fof Jr.
Pro~Se Plaintiff

cc: Eric Alan Ringsmuth (electronic); Stand-by counsel Jane B. Martinez (electronic), Thornas Coan

Page 2 of 2 Motion for Additional Time to Amend Petition

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